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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


MARCELL BELL                               :
                                           :
v.                                         :   Civil No. JKS 07-1710
                                           :
FAIR COLLECTIONS &                         :
OUTSOURCING, INC., et al.                  :


                                           ORDER

      For the reasons stated in the Memorandum Opinion filed today, it is this 27th day of

June, 2008, ORDERED that

      1.      Summary judgment is granted to Defendant Mid Atlantic as to Counts I and IV of
              the Complaint, and

      2.      Summary judgment is granted to Defendants Mid Atlantic and FCO as to Counts
              II, III and V, of the Complaint.

      3.      The clerk is directed to CLOSE this case.


                                                                     /S/
                                                            JILLYN K. SCHULZE
                                                          United States Magistrate Judge
